                                            COURT OF APPEALS OF VIRGINIA
UNPUBLISHED

              Present: Judges Fulton, Causey and Raphael
              Argued at Lexington, Virginia


              ROBERT A. LINKENAUGER
                                                                         MEMORANDUM OPINION* BY
              v.     Record No. 1225-23-3                              JUDGE DORIS HENDERSON CAUSEY
                                                                               AUGUST 20, 2024
              MICAH S. FRAIM, ET AL.


                                FROM THE CIRCUIT COURT OF THE CITY OF ROANOKE
                                            J. Christopher Clemens, Judge

                              C. Quinn Adams (Charles M. Sims; O’Hagan Meyer, PLLC, on
                              briefs), for appellant.

                              Devon J. Munro (Munro Byrd, P.C., on brief), for appellee.


                     Robert Linkenauger appeals the circuit court’s order granting Micah Fraim and Steven

              Walker’s plea in bar relating to a derivative action filed by Linkenauger on behalf of Roanoke

              Business Hub, LLC. The circuit court found, on alternative grounds, that Linkenauger did not

              have derivative standing based on the eight factors detailed in Jennings v. Kay Jennings Fam.

              Ltd. P’ship, 275 Va. 594, 601-02 (2008) (citing Davis v. Comed, Inc., 619 F.2d 588, 593-94 (6th

              Cir. 1980)). The circuit court also found that Linkenauger had not sent the other members a

              written “demand letter” as required by Code § 13.1-1042 before suing. We conclude that the

              circuit court did not err in finding that Linkenauger failed to send a written demand letter as

              required by Code § 13.1-1042. Thus, we affirm the circuit court’s judgment.1



                     *
                         This opinion is not designated for publication. See Code § 17.1-413(A).
                     1
                       “When a trial court’s judgment is made on alternative grounds, we need only consider
              whether any one of the alternatives is sufficient to sustain the judgment of the trial court and, if
              we so find, need not address the other grounds.” Cumbo v. Dickenson Cnty. Dep’t of Soc. Servs.,
              62 Va. App. 124, 127 n.2 (2013).
                                         BACKGROUND

       In 2016, Robert A. Linkenauger, Micah S. Fraim, and Steven Walker formed Roanoke

Business Hub, LLC (RBH), to manage, buy, sell, rent, and develop real estate. Under RBH’s

operating agreement, each member had a one-third interest in the business, with management

decisions generally requiring an “affirmative vote” of a majority of the membership interest.

Under the operating agreement, however, no member could “provide services or property to

[RBH], either for consideration or for an additional capital share, without the unanimous written

consent of the [m]embers.” Nor could a member be compensated “in the capacity as such”

without a majority vote. The operating agreement also provided a detailed “Tiered Dispute

Resolution Method” that required members to work in “good faith” and engage in negotiation

and mediation before resorting to litigation.

       From RBH’s formation in 2016 until November 2020, Linkenauger and Fraim generally

made the business decisions for RBH. Fraim, a certified public accountant, managed RBH’s

accounting and sent monthly updates to the other two members. In November 2020, Fraim

asked Linkenauger and Walker if he could receive ten percent of the rent rolls as compensation

for his services. Linkenauger voted no and, per the operating agreement, this should have

deprived Fraim of this compensation. Yet the next month Fraim allegedly paid himself “Fees

and Commissions” and also stopped providing Linkenauger access to RBH’s books.

       The relationship between the members continued to deteriorate. In March 2022,

Linkenauger discovered over $73,000 had been deducted from RBH’s checking account for

payments labeled “Repairs and Maintenance” or “Commissions and Fees.” These payments

were allegedly made to Fraim (fee payments) or to Walker (repairs and maintenance) without a

single approval vote. Following this discovery, Linkenauger formally invoked the operating

agreement’s dispute resolution provision on March 14, 2022, noting Fraim and Walker’s

                                                -2-
concealment of financial records and the large transfers as the basis of his complaint. In an

attempt to negotiate their issues, Linkenauger sent two “dispute letters” to Fraim and Walker in

March and May 2022. These letters listed several “proposed solutions” to address Linkenauger’s

concerns. The parties’ efforts to mediate the dispute were unsuccessful.

       In August 2022, Linkenauger sued Fraim and Walker derivatively on behalf of RBH.

Linkenauger alleged that he had voted against Fraim’s request to be compensated for providing

RBH’s accounting services, denying Fraim the unanimous consent required for compensation

under the operating agreement. Linkenauger also asserted that Fraim had “repaid” himself for

loan amounts he never gave RBH. Linkenauger also disputed much of RBH’s accounting,

alleging that the other members did not satisfy certain capital calls and had emptied RBH’s bank

accounts. Linkenauger contended that Fraim and Walker were liable to RBH for breach of

fiduciary duty and breach of the operating agreement. He also asked the circuit court to expel

Fraim and Walker as members under Code § 13.1-1040.1(5).

       Fraim and Walker filed a plea in bar. They argued that Linkenauger did not have

derivative standing under Code § 13.1-1042(A) because he did not “fairly and adequately”

represent RBH’s interests. They also argued that Linkenauger had not complied with Code

§ 13.1-1042(B) by providing a “written demand” to RBH 90 days before filing suit.

Linkenauger countered that he asserted quintessential derivative claims and a “written demand”

under Code § 13.1-1042(B) was excused as futile. At a hearing on the plea in bar, Fraim and

Walker testified extensively about RBH’s management, the members’ course of dealings, and the

deterioration of their communication and relationships; Linkenauger did not testify.

       The circuit court sustained the plea in bar on alternative grounds. First, the circuit court

found that Linkenauger did not have derivative standing based on the eight factors detailed in

Jennings, 275 Va. at 601-02 (citing Davis, 619 F.2d at 593-94). The circuit court’s analysis

                                               -3-
hinged on its factual findings that “considerable economic antagonism” existed between the

parties and that, if Linkenauger received his requested relief, he would “enjoy sole ownership

and control” of RBH and its “recently renovated commercial buildings at no cost to himself.”

The court determined that Linkenauger’s “personal interest [was] several magnitudes beyond . . .

RBH’s” and that he had sought to “exact revenge” on his co-members.

       Further, the circuit court ruled that Linkenauger had not sent the other members a written

“demand letter” as required by Code § 13.1-1042 before filing suit. The circuit court found that

Linkenauger had not proven or pleaded facts sufficient to demonstrate that the demand letter

requirement would be futile because, although the parties had engaged in mediation, litigation is

a “different approach[]” that can have “adverse effects on individual and professional

reputations.” This appeal timely follows.

                                            ANALYSIS

       On appeal, Linkenauger argues that the circuit court wrongly applied and gave undue

weight to certain Jennings factors because RBH was “closely held.” Jennings, 275 Va. at

601-02. He also argues that sending a demand letter would have been futile.

       “A plea in bar asserts a single issue, which, if proved, creates a bar to a plaintiff’s

recovery.” Cornell v. Benedict, 301 Va. 342, 349 (2022) (quoting Massenburg v. City of

Petersburg, 298 Va. 212, 216 (2019)). “The movant bears the burden of proof on such a plea,

and if evidence is presented ore tenus, the circuit court’s factual findings ‘are accorded the

weight of a jury finding and will not be disturbed on appeal unless they are plainly wrong or

without evidentiary support.’” Id.
       “A derivative action is an equitable proceeding in which a shareholder asserts, on behalf

of the corporation, a claim that belongs to the corporation rather than the shareholder.” Simmons

v. Miller, 261 Va. 561, 573 (2001). A member of an LLC “shall not commence or maintain a

                                                -4-
derivative proceeding unless the member fairly and adequately represents the interests of the

limited liability company in enforcing the right of the limited liability company and is a proper

plaintiff pursuant to § 13.1-1043.” Code § 13.1-1042(A).

       Code § 13.1-1042(B) requires that “[n]o member may commence a derivative proceeding

until: (1) [a] written demand has been made on the limited liability company to take suitable

action; and (2) [n]inety days have expired from the date delivery of the demand was made.”2

However, such a demand is not required if the plaintiff can prove that demand would be futile.

See Davis v. MKR Dev., LLC, 295 Va. 488, 492-94 (2018). Invoking the “futility exception,” a

member can

               allege such a state of facts as will show that the defendants whom
               he charges with the wrong doing constitute a majority of the board
               of directors, or managing body at the time of the suit, or that they,
               or a majority of them, are under the control of the defendant
               wrong-doers, so that the court may infer that they would refuse to
               bring such suit; or he must allege such facts in his pleading as will
               show that it is reasonably certain that a suit by the corporation
               would be impossible, and that a demand to sue would be useless.

Mount v. Radford Tr. Co., 93 Va. 427, 431 (1896).3




       2
           There is an exception to the 90-day deadline if “(i) the member has been notified before
the expiration of 90 days that the demand has been rejected by the limited liability company or
(ii) irreparable injury to the limited liability company would result by waiting until the end of the
90-day period.” Code § 13.1-1042(B).
       3
          The futility exception was eliminated in 1992 for derivative claims against stock
corporations. See 1985 Va. Acts ch. 522, at 893 (Code § 13.1-672(B) (“A complaint in a
proceeding brought in the right of a corporation shall allege with particularity why demand was
excused or that demand was made to obtain action by the board of directors and either that the
demand was refused or ignored.”)), superseded by 1992 Va. Acts ch. 802, at 1271 (Code
§ 13.1-672.1(B) (“No shareholder may commence a derivative proceeding until: 1. A written
demand has been made on the corporation to take suitable action . . . .’”)); Allen C. Goolsby,
Steven M. Haas, Goolsby &amp; Haas on Virginia Corporations § 8.2, at 148-50 (7th ed. 2022)
(explaining the adoption of the “universal demand requirement”). But as Davis explains, the
futility exception has not been eliminated for derivative actions against limited liability
companies. 295 Va. at 494-96.
                                                -5-
        Here, the circuit court found that Linkenauger had not “sufficiently pleaded facts to

support a conclusion” that demand would be futile. Although the circuit court acknowledged

that Linkenauger sent two dispute letters and “unsuccessfully participated in mediation,” the

court determined that these actions were “insufficient to absolve him from his demand

requirement.” The circuit court reasoned that

                litigation and mediation address the same problems through
                different approaches. Further, litigation can have significantly
                adverse effects on individual and professional reputations. Thus, a
                demand on warring parties may be sufficient to initiate satisfactory
                remedial steps.

Consequently, the circuit court held that Linkenauger lacked “standing due to his failure to

satisfy the statutory demand requirement.”

        That finding was not plainly wrong or without evidence to support it. The “dispute”

letters were not drafted in anticipation of litigation. In fact, it is clear from the face of the letters

that they were drafted as an attempt to negotiate with the other members of RBH. The letters

offered “proposed solutions” to certain outlined “disputes.” These proposed solutions were

personal in nature, such as a suggestion to have a third party perform a valuation of

Linkenauger’s membership interest and negotiate a buy-out and a request for Fraim and Walker

to refrain from demanding capital calls until the conclusion of the dispute resolution process.

Thus, the proposed solutions failed to make any demand on RBH or the other members as

required by Code § 13.1-1042(B). Furthermore, both defendants testified at the plea in bar

hearing that they would have welcomed a request for an accounting, had Linkenauger demanded

one. Thus, requiring a demand letter would not have been futile. We therefore hold that the

circuit court did not err in finding that these letters fell short of the statutory requirement to make




                                                  -6-
a written demand on RBH to take suitable action, and affirm the circuit court’s judgment on

these grounds.4

                                          CONCLUSION

       For the foregoing reasons, the circuit court’s judgment is affirmed.

                                                                                       Affirmed.




       4
         Because “[w]e have an ‘obligation to decide cases on the best and narrowest grounds
available,’” we conclude that this holding regarding Code § 13.1-1042(B) is the best and
narrowest ground for the resolution of this appeal. Theologis v. Weiler, 76 Va. App. 596, 603
(2023) (quoting Esposito v. Va. State Police, 74 Va. App. 130, 134 (2022)). Therefore, we do
not address Linkenauger’s remaining assignment of error.
                                               -7-
